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           16                                 NORTHERN DISTRICT OF CALIFORNIA
                                                  SAN FRANCISCO DIVISION
           17
                   PACIFIC COAST FEDERATION OF                Case No. 3:18-cv-07477-VC
           18
                   FISHERMEN’S ASSOCIATIONS, INC.,
                                                              JOINT RESPONSE TO COURT’S NOTICE
           19
                                 Plaintiff,                   AND REQUEST TO VACATE CASE
           20                                                 MANAGEMENT CONFERENCE
                          v.
           21                                                 Action Filed: November 14, 2018
                   CHEVRON CORP.; CHEVRON U.S.A.,
           22
                   INC.; EXXON MOBIL CORP.;
           23      EXXONMOBIL OIL CORP.; BP P.L.C.; BP
                   AMERICA, INC.; ROYAL DUTCH SHELL
           24      PLC; SHELL OIL PRODUCTS CO. LLC;
                   CITGO PETROLEUM CORP.;
           25      CONOCOPHILLIPS; CONOCOPHILLIPS
                   CO.; PHILLIPS 66; TOTAL E&P USA INC.;
           26
                   TOTAL SPECIALTIES USA INC.; ENI
           27      S.P.A.; ENI OIL & GAS INC.; ANADARKO
                   PETROLEUM CORP.; OCCIDENTAL
           28      PETROLEUM CORP.; OCCIDENTAL

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Crutcher LLP
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               1   CHEMICAL CORP.; REPSOL S.A.; REPSOL
                   ENERGY NORTH AMERICA CORP.;
               2   REPSOL TRADING USA CORP.;
               3   MARATHON OIL CO.; MARATHON OIL
                   CORP.; MARATHON PETROLEUM CORP.;
               4   HESS CORP.; DEVON ENERGY CORP.;
                   DEVON ENERGY PRODUCTION CO., L.P.;
               5   ENCANA CORP.; APACHE CORP.; and
                   DOES 1 through 100, inclusive,
               6

               7              Defendants.

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                   JOINT RESPONSE TO COURT’S NOTICE AND REQUEST TO VACATE CASE MANAGEMENT CONFERENCE
Crutcher LLP
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               1
                          On November 17, 2021, the Court issued an Order, vacating the Case Management Conference
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                   set for December 8, 2021, and scheduling a Case Management Conference for June 8, 2022. Dkt. 182.
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                   On May 19, 2022, the Clerk issued an Order rescheduling the Case Management Conference for June
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                   22, 2022. Dkt. 192. For the reasons set out below, the parties respectfully request that the case
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                   management conference be postponed until proceedings in the Ninth Circuit, and potentially the
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                   Supreme Court, in a similar climate change-related action have concluded. 1
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                          On January 2, 2019, the Court granted a joint stipulation to “stay further proceedings in this
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                   matter until both sets of appeals currently pending in the Ninth Circuit as Nos. 18-15499, 18-15502,
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                   18-15503, 18-16376, and 18-16663 are finally resolved, including resolution of any en banc
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                   proceedings in the Ninth Circuit or proceedings in the United States Supreme Court.” Dkt. 91.
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                          On May 26, 2020, the Ninth Circuit issued decisions in County of San Mateo. v. Chevron Corp.,
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                   Nos. 18-15499, 18-15502, 18-15503, and 18-16376 (9th Cir.) and City of Oakland v. BP PLC, No. 18-
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                   16663 (9th Cir.). On July 8, 2020, the defendants in City of Oakland filed a petition for panel rehearing
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                   and/or rehearing en banc, and on July 9, 2020, the defendants in County of San Mateo filed a petition
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                   for rehearing en banc. On August 4, 2020, and August 12, 2020, the Ninth Circuit denied the petitions
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                   in County of San Mateo and City of Oakland, respectively. Defendants filed petitions for writs of
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                   certiorari to the Supreme Court of the United States in both actions.2 On May 17, 2021, the Supreme
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                   Court ruled in a parallel case that presented the same question as the certiorari petition in County of
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                   San Mateo, and held that when a district court remands a case that was removed in part under the
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                   federal officer removal statute, a court of appeals is authorized to review the entire remand order on
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                   appeal. BP P.L.C. v. Mayor and City Council of Baltimore, 593 U.S. ___, 141 S.Ct. 1532, 1538 (2021).
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                   Shortly thereafter, on May 24, 2021, the Supreme Court granted the County of San Mateo certiorari
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                   petition, vacated the Ninth Circuit’s judgment, and remanded the case to the Ninth Circuit for further
           24

           25      1
                       This request is submitted subject to and without waiver of any defense, affirmative defense, or
           26          objection, including personal jurisdiction, insufficient process, or insufficient service of process.
                       Nothing in this request addresses or affects any party’s position in any other case, including
           27          County of San Mateo or City of Oakland.
                   2
           28          Chevron Corp. v. Cnty. of San Mateo, No. 20-884 (U.S.) (filed Nov. 30, 2020); Chevron Corp. v.
                       City of Oakland, No. 20-1089 (U.S.) (filed Jan. 8, 2021).
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               1
                   consideration in light of Baltimore. The Supreme Court denied the City of Oakland certiorari petition
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                   on June 14, 2021. On April 19, 2022, the Ninth Circuit issued a decision in County of San Mateo.
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                   Defendants filed a petition for rehearing en banc on May 17, 2022, which is still pending. Accordingly,
               4
                   proceedings in the Ninth Circuit in County of San Mateo are not yet resolved and remain ongoing.
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                   Moreover, if Defendants’ petition for rehearing en banc is denied, Defendants intend to file a petition
               6
                   for a writ of certiorari to the Supreme Court.
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                           In light of the foregoing, the parties respectfully submit that this case remains stayed and request
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                   that the Court vacate the June 22 Case Management Conference and associated deadlines, specified in
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                   the Court’s order dated May 19, 2022 (Dkt. 192). The parties propose that they notify the Court of the
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                   final resolution of proceedings before the Ninth Circuit and the Supreme Court in County of San Mateo
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                   within 14 days of resolution of the action.
           12

           13
                   Dated : June 14, 2022                                  Respectfully submitted,
           14

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